            Case 22-3068, Document 103, 09/08/2023, 3566568, Page1 of 2




                      UNITED STATES COURT OF APPEALS
                                    FOR THE
                                SECOND CIRCUIT


        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
8th day of September, two thousand twenty-three.

Before:     Dennis Jacobs,
            Gerard E. Lynch,
            Eunice C. Lee,
                   Circuit Judges,
________________________________

 Nadine Gazzola, individually, and as coowner, President,
 and as BATFE Federal Firearms Licensee Responsible
 Person for Zero Tolerance Manufacturing, Inc., Seth
 Gazzola, individually, and as coowner, Vice President,   ORDER
 and as BATFE FFL Responsible Person for Zero
 Tolerance Manufacturing, Inc., John A. Hanusik,          Docket No. 22-3068
 individually, and as owner and as BATFE FFL
 Responsible Person for d/b/a AGA Sales, Jim Ingerick,
 individually, and as owner and as BATFE FFL
 Resonsible Person for Ingerick's LLC, d/b/a Avon Gun &
 Hunting Supply, Christopher Martello, individually, and
 as owner and as BATFE FFL Responsible Person for
 Performance Paintball, Inc. d/b/a Ikkin Arms, Michael
 Mastrogiovanni, individually, and as owner as as BATFE
 FFL Responsible Person for Spur Shooters Supply,
 Robert Owens, individually, and as owner and as BATFE
 FFL Responsible Person for Thousand Islands Armory,
 Craig Serafini, individually, and as owner and as BATFE
 FFL Responsible Person for Upstate Guns and Ammo,
 LLC, Nick Affronti, individually, and as BATFE FFL
 Responsible Person for East Side Traders LLC, Empire
 State Arms Collectors Association, Inc.,

              Plaintiffs - Appellants,

 v.

 Kathleen Hochul, in her Official Capacity as Governor of
 the State of New York, Steven A. Nigrelli, in his Official
 Capacity as the Acting Superintendent of the New York
 State Police, Rossana Rosado, in her Official Capacity as
            Case 22-3068, Document 103, 09/08/2023, 3566568, Page2 of 2




 the Commissioner of the Department of Criminal Justice
 Services of the New York State Police, Leticia James, in
 her Official Capacity as the Attorney General of the State
 of New York,

           Defendants - Appellees.
________________________________

         Appellants seek to enjoin the New York State Police’s implementation of firearm and
ammunition background checks, which are scheduled to begin on September 13, 2023. They
also seek to enjoin the New York State Police from conducting on-site inspections of firearm
dealers.

        IT IS HEREBY ORDERED that the motion is DENIED.


                                                    For the Court:
                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
